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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

DAELIM CORPORATION                                   §
     Plaintiff,                                      §
                                                     §
                                                                C.A. No. 4:19-CV-00485
v.                                                   §
                                                                     Admiralty 9(h)
                                                     §
BOMIN BUNKER OIL PTE LTD                             §
     Defendant.                                      §

                           CERTIFICATE OF INTERESTED PARTIES

        Pursuant to Federal Rule of Civil Procedure 7.1 and this Court’s Order for Disclosure of

Interested Parties, Plaintiff, Daelim Corporation, files its Certificate of Interested Parties and

respectfully would show this Court that the following persons and/or entities are financially

interested in this suit:

        1.         Daelim Corporation;

        2.         Bomin Bunker Oil Pte Ltd.; and,

        3.         Chimbusco Marine Bunker (Tianjin) Co. Ltd.




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                                     Respectfully submitted,

                                     /s/ James T. Bailey
                                     Robert L. Klawetter
                                     Federal I.D. 2471
                                     State Bar No. 11554700
                                     klawetter@easthamlaw.com
                                     Christina K. Schovajsa
                                     Federal I.D. 25142
                                     State Bar No. 24002910
                                     schovajsa@easthamlaw.com
                                     James T. Bailey
                                     Federal I.D. 30347
                                     State Bar No. 24031711
                                     bailey@easthamlaw.com
                                     The Niels Esperson Building
                                     808 Travis Street, Suite 1300
                                     Houston, TX 77002
                                     Telephone: (713) 225-0905
                                     Facsimile: (713) 225-2907
                                     Attorneys for Plaintiff
                                     Daelim Corporation

OF COUNSEL:

EASTHAM, WATSON, DALE & FORNEY, L.L.P.

                                     --and--

                                     /s/ Timothy J. Nast
                                     Thomas L. Tisdale, Pro hac vice
                                     ttisdale@tisdale-law.com
                                     Timothy J. Nast, Pro hac vice
                                     tnast@tisdale-law.com
                                     One Grand Central Place
                                     60 East 42nd Street, Suite 1638
                                     New York, New York 10165-6220
                                     Telephone: (212) 254-0025
                                     Facsimile: (212) 869-0067
                                     Attorneys for Plaintiff
                                     Daelim Corporation

OF COUNSEL:

TISDALE LAW OFFICES, LLC



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                               CERTIFICATE OF SERVICE

        No other parties have answered or appeared.

                                                      /s/ James T. Bailey
                                                           James T. Bailey




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